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USDC IN/ND case 1:21-cv-00332-HAB-SLC     -CT -000047
                                                    1-1 filed 08/30/21 page 1Filed:
                                                                                of 68/18/2021                11:40 AM
                                                                                                                Clerk
                                           Grant Superior Court   1
                                                                                                Grant County, Indiana



    STATE OF INDIANA             )               IN THE GRANT COUNTY SUPERIOR COURT
                                 ) SS:
    COUNTY OF GRANT              )               CAUSE NO.
                                                                                    RECEIVED     AUG   2'0   2021


    VERNON MAYS,                                                                                9i.ß
            Plaintiff,

     v.

   NORFOLK SOUTHERN CORPORATION,

           Defendant.




                                           SUMMONS
   To the Defendant named above:            Norfolk Southern Corporation
                                            c/o Barry L. Loftus, Registered Agent
                                            300 Main Street, Suite 900
                                            Lafayette, Indiana 47901

           You are hereby notified that you have been sued by the person named "Plaintiff' in the
   Court stated above.

        The nature of the suit against you is stated in the Complaint which is attached to this
   Summons. It also states the relief sought or the demand made against you by the Plaintiff

           An answer or other appropriate response in writing to the Complaint must be filed either
   by your or your attorney within twenty (20) days commencing the day after you receive this
   Summons, (or twenty-three (23) days if this Summons was received by mail), or a judgment by
   default may be rendered against you for the relief demanded by Plaintiff.

          If you have a claim for relief against the Plaintiff arising from the same transaction or
   occurrence, you must assert it in your written answer.

           The following documents are also served with this Summons:

                   Complaint and Appearance


  Dated:       8/18/2021
                                               Clerk, Grant County Superior Court




                                                                      EXHIBIT
                                                                        A
USDC IN/ND case 1:21-cv-00332-HAB-SLC document 1-1 filed 08/30/21 page 2 of 6




   The following manner of service of summons is hereby designated:

           Certified Mail on Individual at above address



   PREPARED BY:

   Michael E. Simmons
   HUME SMITH GEDDES GREEN & SIMMONS, LLP
   Attorney No. 136-49
   54 Monument Circle, 4th Floor
   Indianapolis, Indiana 46204
   Telephone: (317) 632-4402
   Facsimile: (317) 632-5595
   msimmons(a,humesmith.com
   jlitton@humesmith.com

   Attorney for Plaintiff
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USDC IN/ND case 1:21-cv-00332-HAB-SLC     -CT -000047
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                                                                               of 68/18/2021                              11:40 AN
                                                                                                                              Clerk
                                                       Grant Superior Court   1
                                                                                                              Grant County, Indiana




    STATE OF INDIANA                         )               IN THE GRANT COUNTY SUPERIOR COURT
                                             )   SS:
   COUNTY OF GRANT                       .   )               CAUSE NO.


   VERNON MAYS,                                                )
                                                               )
                   Plaintiff,                                  )
                                                               )
        v.                                                     )
                                                              )
   NORFOLK SOUTHERN CORPORATION,                              )
                                                              )
                   Defendant.                                 )



                                    APPEARANCE BY ATTORNEY IN CIVIL CASE

   1.        The party on whose behalf this form is being filed is:

             Initiating:        X     Responding:             Intervening:            ;   and

             The undersigned attorney and all attorneys listed on this form now appear in this case for the
             following parties:

             Name of Party: Plaintiff, Vernon Mays

  2.         Attorney information for service as required by Trial Rule 5(B)(2):

             Name:              Michael E. Simmons                                Attorney No.: 136-49
                                HUME SMITH GEDDES GREEN                           Phone: (317) 632-4402
                                    & SIMMONS, LLP                                Fax: (317) 632-5595
             Address:           54 Monument Circle, 4th Floor
                                Indianapolis, Indiana 46204
                                msimmonsÄhumesmith.com
                                j litton(a,h umesmith.com


             Each attorney specified on this Appearance:

             (a)      certifies that the contact information listed for him/her on the Indiana Supreme Court Roll
                      of Attorneys is current and accurate as of the date of this Appearance;

             (b)     acknowledges that all orders, opinions, and notices from the court in this matter that
                     are served under Trial Rule 86(G) will be sent to the attorney at the email address(es)
                     specified by the attorney on the Roll of Attorneys regardless of the contact
                     information listed above for the attorney; and
USDC IN/ND case 1:21-cv-00332-HAB-SLC document 1-1 filed 08/30/21 page 4 of 6




         (c)       understands that he/she is solely responsible for keeping his/her Roll of Attorneys contact
                   information current and accurate, see Ind. Admis. Disc. R. 2(A).

   3.     This is a civil tort case type as defined in administrative Rule 8(B)(3).

   4.          I   will accept service from other parties by:
                   FAX at the above noted number: Yes            No       X
                   Email at the above noted number: Yes           No      X

   5.     This case involves child support issues: Yes             No     X

   6.     This case involves a protection from abuse order, a workplace violence restraining order, or a
          no--contact order. Yes        No X

   7.     This case involves a petition for involuntary commitment. Yes              No X

   8.     There are related cases: Yes                No X

   9.     Additional information required by local rule: N/A

   10.    This form has been served on all other parties and Certificate Of Service is attached:
          Yes X       No




                                                  Respectfully submitted,


                                                   Is/Michael E. Simmons
                                                                  Michael E. Simmons
                                                  HUME SMITH GEDDES GREEN & SIMMONS, LLP
                                                  Attorney No. 136-49
                                                  54 Monument Circle, 4th Floor
                                                  Indianapolis, Indiana 46204
                                                  Telephone: (317) 632-4402
                                                 Facsimile: (317) 632-5595
                                                 msimmons@humesmith.com
                                                 jlittonC humesmith.com

                                                 Attorney for Plaintiff




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                                                Grant Superior Court   1
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    STATE OF INDIANA                 )                  IN THE GRANT COUNTY SUPERIOR COURT
                                     )   SS:
   COUNTY OF GRANT                   )                  CAUSE NO.


   VERNON MAYS,

              Plaintiff,

       v.                                                        JURY TRIAL REQUESTED

   NORFOLK SOUTHERN CORPORATION,

              Defendant.


                                                 COMPLAINT

             Comes now Plaintiff, Vernon Mays (hereinafter "Vernon"), by counsel, and for his

   Complaint against Defendant, Norfolk Southern Corporation (hereinafter "Norfolk"), says:


              1.     At all times material hereto, Vernon resided in Marion, Grant County, Indiana.

             2.      At all times material hereto, Norfolk was responsible for operating and maintaining

   a   railroad track on or near the intersection of   10th   Street and Boots Street in Marion, Grant County,

   Indiana.

             3.      On June 26, 2021, Vernon was injured while he was riding his motorcycle over the

   aforementioned railroad track located on the intersection of 10th Street and Boots Street in Marion,

   Grant County, Indiana.

            4.       The aforementioned injuries to Vernon were proximately caused by and/or resulted

   from the negligence and/or fault of Norfolk.

            5.       As a result of the above -referenced injuries, Vernon has incurred bodily injury, pain

  and suffering, mental anguish, and other costs, expenses and losses, some of which may be

  permanent in nature, and other damages recoverable under Indiana law.
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           WHEREFORE, Plaintiff, Vernon Mays, prays for judgment against Defendant, Norfolk

   Southern Corporation, in an amount which will fully, fairly and adequately compensate said

   Plaintiff for all injuries, costs, expenses, losses and damages recoverable under Indiana law, and

   for all other just and proper relief in the premises.



                                        JURY TRIAL REQUEST

          Comes now Plaintiff, Vernon Mays, by counsel, and requests a trial by jury in the above -

  captioned cause of action.

                                               Respectfully submitted,


                                               /s/Michael E. Simmons
                                                              Michael E. Simmons
                                              HUME SMITH GEDDES GREEN & SIMMONS, LLP
                                              Attorney No. 136-49
                                              54 Monument Circle, 4th Floor
                                              Indianapolis, Indiana 46204
                                              Telephone: (317) 632-4402
                                              Facsimile: (317) 632-5595
                                              msimmons@humesmith.com
                                              ilitton(aihumesmith.com

                                              Attorney for Plaintiff




                                                     2
